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                      EXHIBIT “A”
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 19-cv-20264-CIV-GOODMAN
                                          [CONSENT CASE]

  ERIC EWING,

        Plaintiff,

  vs.

  CARNIVAL CORPORATION,

        Defendant.
  _______________________________/

           NOTICE OF PRESERVATION OF EVIDENCE FOR USE AT TRIAL


   LOCATION & DESCRIPTION                   DATE & TIME                            DESCRIPTION
             OF                                 OF
       PROPERTY TO BE                  PRESERVATION/REMOVAL
     PRESERVED/REMOVED
    FROM SUBJECT VESSEL

   Subject forward Pullman bunk           Tuesday, October 18, 2022           Defendant will remove the
   bed, Cabin R298                       [Time to be determined and           subject forward Pullman
   Carnival Ecstasy                       furnished later when ship           bunk bed and all
                                         presence details are learned]        accompanying parts for
                                                                              the purpose of preserving
                                                                              for presentation at trial.
                                                                              This is the same bunk bed
                                                                              which was inspected by
                                                                              Plaintiff’s liability expert,
                                                                              Dr. Kadiyala.

                                                                              The bunk bed will be
                                                                              stored at S-E-A Limited’s
                                                                              Ft. Lauderdale Office at
                                                                              5410 N.W. 33rd Avenue,
                                                                              Suite 100, until time of
                                                                              trial.

                                                                              Plaintiff is invited to
                                                                              attend and observe the
                                                                              subject forward Pullman
                                                                              bunk bed removal.




                                       HORR, NOVAK & SKIPP, P.A.
             TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
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  Dated: September 23, 2022

  Respectfully submitted,

                                                          /s/ Juan C. Perez, Jr.
                                                          DAVID J. HORR
                                                          Florida Bar No. 310761
                                                          dhorr@admiral-law.com
                                                          JUAN C. PEREZ, JR.
                                                          Florida Bar No.: 91581
                                                          jperez@admiral-law.com
                                                          HORR, NOVAK & SKIPP, P.A.
                                                          Two Datran Center, Suite 1700
                                                          9130 South Dadeland Boulevard
                                                          Miami, FL 33156
                                                          Telephone: (305) 670-2525
                                                          Facsimile: (305) 670-2526



                                 CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on September 23, 2022, we electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. We also certify that the foregoing document

  is being served this day on all counsel of record or pro se parties identified on the attached Service

  List in the manner specified, either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronic Notices of Electronic Filing.

                                                          /s/ Juan C. Perez, Jr.
                                                          DAVID J. HORR
                                                          Florida Bar No. 310761
                                                          dhorr@admiral-law.com
                                                          JUAN C. PEREZ, JR.
                                                          Florida Bar No.: 91581
                                                          jperez@admiral-law.com




                                         HORR, NOVAK & SKIPP, P.A.
               TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
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                                          SERVICE LIST

   KEITH S. BRAIS, ESQ.                                David J. Horr
   Email: kbrais@braislaw.com                          Florida Bar No.: 310761
   Florida Bar No.: 863319                             dhorr@admiral-law.com
   MICHELLE Y. GURIAN, ESQ.                            Juan C. Perez, Jr.
   Email: mgurian@braislaw.com                         Florida Bar No.: 91581
   Florida Bar No.: 100312                             jperez@admiral-law.com
   BRAIS LAW FIRM                                      HORR, NOVAK & SKIPP, P.A.
   Dadeland Towers                                     Two Datran Center, Suite 1700
   9300 S. Dadeland Blvd., Suite 101                   9130 South Dadeland Boulevard
   Miami, Florida 33156                                Miami, FL 33156
   Telephone: (305) 416-2901                           Telephone: (305) 670-2525
   Facsimile: (305) 416-2902                           Facsimile: (305) 670-2526
   Attorneys for Plaintiff                             Attorneys for Defendant

   PHILIP D. PARRISH
   Email: phil@parrishappeals.com
   Florida Bar No.: 0541877
   Email: betty@parrishappeals.com
   PHILIP D. PARRISH, P.A.
   7301 SW 57th Court, Suite 430
   Miami, Florida 33143
   Telephone: (305) 670-5550
   Facsimile: (305) 670-5552
   Co-Counsel for Plaintiff




                                       HORR, NOVAK & SKIPP, P.A.
             TWO DATRAN CENTER, SUITE 1700 – 9130 SOUTH DADELAND BOULEVARD, MIAMI, FL 33156
